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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


  Alan J. Sheppard,                                      )      C/A No. 2:11-1538 DCN
                                                         )
                                 Plaintiff,              )
                                                         )
                  vs.                                    )              ORDER
                                                         )
  William O. Higgins, as Lawyer with Ellis,              )
  Lawhorne & Sims, P.A.; Ronald C. Owens, as             )
  agent with guarantor, KRA; Russell Bennett as          )
  guarantor; Charles P. Darby, as guarantor,             )
                                                         )
                                 Defendants.             )

           The above referenced case is before this court upon the magistrate judge's recommenda-

  tion that the complaint be dismissed without prejudice and without issuance and service of

  process.

           This court is charged with conducting a de novo review of any portion of the magistrate

  judge's report to which a specific objection is registered, and may accept, reject, or modify, in

  whole or in part, the recommendations contained in that report. 28 U.S.C. § 636(b)(1).

  However, absent prompt objection by a dissatisfied party, it appears that Congress did not intend

  for the district court to review the factual and legal conclusions of the magistrate judge. Thomas

  v Arn, 474 U.S. 140 (1985). Additionally, any party who fails to file timely, written objections

  to the magistrate judge's report pursuant to 28 U.S.C. § 636(b)(1) waives the right to raise those

  objections at the appellate court level. United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

  cert. denied, 467 U.S. 1208 (1984 ).1        Objections to the magistrate judge’s report and

       1
       In Wright v. Collins, 766 F.2d 841 (4th Cir. 1985), the court held "that a pro se litigant
    must receive fair notification of the consequences of failure to object to a magistrate judge's
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  recommendation were timely filed on July 25, 2011.

         A de novo review of the record indicates that the magistrate judge's report accurately

  summarizes this case and the applicable law. Accordingly, the magistrate judge’s report and

  recommendation is AFFIRMED, and the complaint is DISMISSED without prejudice and

  without issuance and service of process.

         AND IT IS SO ORDERED.



                                                         David C. Norton
                                                         Chief United States District Judge

  October 28, 2011
  Charleston, South Carolina



                               NOTICE OF RIGHT TO APPEAL
         The parties are hereby notified that any right to appeal this Order is governed by Rules
  3 and 4 of the Federal Rules of Appellate Procedure




    report before such a procedural default will result in waiver of the right to appeal. The notice
    must be 'sufficiently understandable to one in appellant's circumstances fairly to appraise him
    of what is required.'" Id. at 846. Plaintiff was advised in a clear manner that his objections
    had to be filed within ten (10) days, and he received notice of the consequences at the
    appellate level of his failure to object to the magistrate judge's report.
